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CRIMINALISTICS

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Could Secondary DNA Transfer Falsely Place
Someone at the Scene of a Crime?*,†


   ABSTRACT: The occurrence of secondary DNA transfer has been previously established. However, the transfer of DNA through an inter-
   mediary has not been revisited with more sensitive current technologies implemented to increase the likelihood of obtaining results from low-
   template/low-quality samples. This study evaluated whether this increased sensitivity could lead to the detection of interpretable secondary
   DNA transfer profiles. After two minutes of hand to hand contact, participants immediately handled assigned knives. Swabbings of the knives
   with detectable amounts of DNA were amplified with the Identifilerâ Plus Amplification Kit and injected on a 3130xl. DNA typing results
   indicated that secondary DNA transfer was detected in 85% of the samples. In five samples, the secondary contributor was either the only con-
   tributor or the major contributor identified despite never coming into direct contact with the knife. This study demonstrates the risk of assuming
   that DNA recovered from an object resulted from direct contact.

   KEYWORDS: forensic science, criminalistics, DNA analysis, secondary transfer, forensic casework, Identifilerâ Plus


   Locard’s Exchange Principle states that a perpetrator of a                 authors reported the presence of additional alleles that did not
crime will leave traces of his or her presence at a crime scene               belong to the wearers in two samples. They introduced the idea of
and leave with trace evidence from that scene, both of which                  secondary DNA transfer as a plausible reason for the presence of
may be used as forensic evidence in a criminal investigation (1).             those additional alleles and warned DNA analysts to be cautious
There have been a plethora of investigations of the primary                   when handling evidence items because extraneous DNA could be
transfer of DNA from a person to an object or another person                  introduced into a sample through both primary transfer and sec-
and under what conditions primary DNA transfer can and will                   ondary transfer of DNA. The authors subsequently tested the
occur (2). However, it may also be possible that a perpetrator of             potential for secondary transfer by swabbing the hands of experi-
a crime could bring traces of another individual into a crime                 ment participants before and after a one-minute handshake. One of
scene and deposit these traces via secondary DNA transfer. Sec-               the four hands tested revealed transfer of DNA from one individ-
ondary transfer occurs when DNA is transferred from one object                ual to another. This finding prompted the authors to conclude that
or person to another via an intermediate object/person. There is              secondary DNA transfer was a real possibility and could compli-
a paucity of research projects regarding the continued transfer of            cate the interpretation of forensic DNA evidence.
DNA (2). Secondary DNA transfer should be a concern for                          Following the work of van Oorschot and Jones (3), Ladd
forensic DNA analysts because (i) it could falsely link someone               et al. (4) attempted to disprove the occurrence of secondary
to a crime; (ii) it could introduce extraneous DNA, or foreign                DNA transfer. In their analysis, laboratory personnel were
DNA, into a forensic sample; and (iii) it could lead analysts and             instructed to shake hands for varying amounts of time and then
other medicolegal professionals to falsely conclude that DNA                  handle precleaned objects for five seconds. The participants’
left on an object is a result of direct contact.                              hands and the objects were swabbed. Additionally, participants
   Secondary DNA transfer was first described in the scientific lit-          handled coffee mugs for two hours in accordance with regular
erature in 1997 (3). During their investigation into whether DNA              usage. Afterward, the coffee mugs were handled by a second
profiles could be obtained from touched objects, van Oorschot and             individual for 10 seconds. The mug and the palm of the second
Jones swabbed vinyl gloves for the presence of wearer DNA.                    individual were subsequently swabbed. Under these experimental
DNA profiles from the wearers were obtained; however, the                     conditions, Ladd et al. did not observe secondary DNA transfer
                                                                              and concluded their data did not support the notion that DNA
                                                                              profiles from case samples could be compromised by secondary
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   Strand Analytical Laboratories, 5770 Decatur Blvd, Indianapolis, IN        transfer (4). Despite stating that secondary DNA transfer was not
46241.                                                                        observed, they did acknowledge the occasional presence of alle-
  2
   Human Biology Program, University of Indianapolis, 1400 East Hanna
Avenue, Indianapolis, IN 46227.                                               les from the secondary individual below their analysis threshold.
  *Presented at the 66th Annual Meeting of the American Academy of            However, a complete secondary profile was never detected in
Forensic Sciences, February 17–22, 2014, in Seattle, WA.                      their samples. The presence of alleles, albeit below the analysis
  †
   Funding provided by the University of Indianapolis Human Biology           threshold, that were concordant with the profiles of the sec-
Department and Strand Analytical Laboratories.
                                                                              ondary individuals suggests that secondary DNA transfer may
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                                                                              have occurred.


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   Since the Ladd et al. (4) investigation into secondary DNA           Today, forensic laboratories are in the process of implement-
transfer, the technology utilized in forensic laboratories has       ing either the PowerPlexâ Fusion System (Promega) or the
become more sensitive (5–13). This increase in sensitivity over      GlobalFilerTM Kit (Applied Biosystemsâ), both of which amplify
time has provided additional evidence for the occurrence of sec-     24 loci, including the 13 core STR loci. Full profiles can now
ondary DNA transfer. The Ladd et al. (4) investigation utilized      be expected with as little as 100 pg or less of DNA (12,13). In
the AmpliType PM + DQA1 Amplification Kit (Perkin-Elmer              addition, as the number of STR loci typed increases from ampli-
Corp., Norwalk, CT), a dot-based system that did not perform         fication kit to amplification kit, so does the power of discrimina-
particularly well with degraded samples or low-template sam-         tion (7–13). The impact of secondary DNA transfer on forensic
ples, as well as the AmpF‘STRâ Profiler Plusâ PCR Amplifica-         DNA typing results has not been systematically investigated
tion Kit (Applied Biosystemsâ, Foster City, CA) and the              employing current technology, which has become increasingly
AmpF‘STRâ COfilerâ PCR Amplification Kit (Applied Biosys-            more sensitive to improve the likelihood of obtaining inter-
temsâ), which together amplified the thirteen core STR loci.         pretable DNA profiles from low-template and low-quality
Secondary DNA transfer was possibly detected, albeit below the       samples.
reporting threshold of 75 RFU, with the AmpF‘STRâ Profiler              The aim of this research project was to examine whether the
Plusâ PCR Amplification Kit in a 25 lL reaction volume fol-          presence of secondary DNA transfer could potentially complicate
lowing the standard 28 cycle manufacturer’s protocol.                the interpretation of forensic DNA typing results and ultimately
   In 2002, Lowe et al. (14) detected secondary DNA transfer         the final conclusion drawn from those results. This study also
with the AmpF‘STRâ SGM Plusâ PCR Amplification Kit (Ap-              investigates whether the texture of an object’s surface, rough, or
plied Biosystemsâ), which amplified ten STR loci, by increasing      smooth may facilitate the occurrence of secondary DNA transfer.
the number of amplification cycles from 28 to 34 (5,6). Increas-     Furthermore, the implications of this study on the investigation
ing the number of amplification cycles effectively increased the     and prosecution of forensic evidence will be discussed.
sensitivity of the kit. At 28 cycles, full profiles would not be
expected with < 100 pg using the AmpF‘STRâ SGM Plusâ
                                                                     Materials and Methods
PCR Amplification Kit; however, 34 cycles had the potential of
producing full profiles with as little as 25–50 pg (6). In fact,        Twelve paring knives of the same brand with smooth plastic
under both cycling protocols, Lowe et al. obtained a full profile    handles and twelve steak knives of the same brand with textured
of one individual from an object the person did not touch (14).      plastic handles were purchased prepackaged from a retail store
   In 2010, Goray et al. (15) investigated secondary DNA trans-      and left in a sealed condition until required for the experiment.
fer of biological materials (i.e., pure DNA, saliva, and blood)      The smooth-handled knives were designated A through L, and
and detected secondary transfer with the AmpF‘STRâ Profiler          the rough-handled knives were designated M through X. The
Plusâ PCR Amplification Kit following standard protocols; and        individuals directly handling the knives were designated the “pri-
in 2012, Daly et al. (16) again detected secondary transfer with     mary” handlers or contributors. The individuals shaking the
the AmpF‘STRâ SGM Plusâ PCR Amplification Kit in a 50 lL             hands of the primary handlers were designated potential “sec-
reaction with the standard 28 cycle protocol. Daly et al. con-       ondary” contributors.
cluded from their experiments that profiles obtained from               After removal from the packages, the knives were cleaned
touched objects are more likely to be the result of primary trans-   with a 10% bleach solution and exposed to UV light for 30 min
fer rather than secondary transfer. However, this conclusion was     (15 min on each side) to remove potential contaminating surface
based on assumptions rather than confirmatory results. Daly          DNA that may have been deposited on the knife surface during
et al. assumed that the major component of any mixture obtained      manufacturing and packaging. One smooth-handled knife and
was from the individual who directly handled the object. In fact,    one rough-handled knife were swabbed after decontamination
they did not have reference samples from the participants in their   and prior to the knives being handled by participants. These two
experiments to confirm their assumptions (16). None of these         samples were designated contamination control samples and
additional studies addressed whether the secondary DNA transfer      were used to evaluate the effectiveness of the quality control
occurred in sufficient amounts to affect interpretation and the      measures implemented prior to the knives being handled. The
final conclusions drawn from a DNA profile.                          contamination control samples were extracted and quantified
   Based on numerous validation studies, the minimum amount          along with all other samples collected. Lack of DNA in these
of template DNA required to produce a full profile has decreased     samples would be interpreted as meaning that the quality control
(5–13). Full DNA profiles could be expected with a minimum           measures implemented were effective. Further clean technique
DNA template amount of 300 pg using the AmpF‘STRâ Profiler           procedures were followed to minimize the introduction of extra-
Plusâ and COfilerâ PCR Amplification Kits (7) following manu-        neous DNA such as wearing personal protective equipment dur-
facturer’s specifications. The AmpF‘STRâ Identifilerâ PCR            ing sample collection and using a 10% bleach solution to clean
Amplification Kit (Applied Biosystemsâ) and the PowerPlexâ           work areas and equipment.
16 System (Promega, Madison, WI) brought the thirteen core              Twelve research participants were paired based on their previ-
STR loci into a single amplification with a few additional loci.     ously determined STR profiles. Individuals with minimum allele
Full profiles could be expected with a minimum DNA template          sharing were paired together to maximize detection of mixed
amount of 250 pg using either the AmpF‘STRâ Identifilerâ             DNA profiles from the knife samples and also to verify the ori-
PCR Amplification Kit or the PowerPlexâ 16 System (8,9).             gin of any DNA profiles obtained from the knife samples. Prior
These kits were further optimized to overcome inhibition and         to the experiment, participants were instructed to lightly rinse
increase their sensitivity (10,11). With the AmpF‘STRâ Identi-       their hands with water, dry their hands, and then put on latex
filerâ Plus PCR Amplification Kit (Applied Biosystemsâ) and          gloves. Participants wore gloves for 1.5 hours prior to sample
the PowerPlexTM 16 HS (Promega), full profiles could be              collection in an attempt to reduce foreign DNA present on their
expected with as little as 125 pg of DNA or even less under          hands as well as facilitate the transfer of DNA by potentially
standard and extended thermal cycler parameters (10,11).             increasing sweat and oils on their hands. Immediately upon
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removing gloves, participants vigorously shook hands, maintain-      that consisted of 1 lL amplified product plus 9 lL formamide/
ing constant contact for two minutes to mimic intimate contact.      GeneScanTM 500 LIZTM dye size standard (Applied Biosystem)
Shaking hands for two minutes does not usually occur under           mixture, using capillary electrophoresis on an AB 3130xl
normal circumstances; however, other forms of intimate contact       (Applied Biosystem) instrument in conjunction with Gene-
may last longer than two minutes and a two-minute duration of        Mapper ID (version 3.2.1). Samples were injected for 5 and
contact was considered a reasonable test parameter. Following        10 seconds at 3kv with a spectral generated using the G5 dye
the contact period, each participant immediately handled his or      set (Applied Biosystem) applied.
her assigned knife for two minutes.                                     Although the possible contributors to these samples were
   The entire handle surface of each knife was sampled immedi-       known, the DNA profiles obtained were analyzed and interpreted
ately using a wet swabbing technique. Pur-Wraps sterile cotton       independently as if they were unknown profiles obtained from
tipped applicators (Puritan Medical Products Company LLC             casework samples. Data from the 10 second injections were used
Guilford, Maine) were moistened with 100 lL of sterile phos-         for interpretation to maximize the number of alleles identified in
phate-buffered saline solution (PBS). Swab tips were immedi-         each sample. The DNA profiles were analyzed using an analyti-
ately removed into separate sterile microcentrifuge tubes that       cal threshold of 50 RFU and were interpreted with a stochastic
were given the same designation as the corresponding knife. The      threshold of 200 RFU. A peak height ratio of 50% was used to
four researchers conducting the experiment each swabbed a set        aid in the deconvolution of mixtures. Loci suitable for statistical
of knives not associated with that researcher to avoid the risk of   calculations were identified before any comparisons were made.
a false positive for transfer. Each researcher wore a face mask to   Statistical comparisons to the known participants’ profiles were
prevent DNA contamination of the sample. Samples were stored         made only after the knife sample DNA profiles were indepen-
at 20°C until DNA extraction. In an effort to maintain the           dently interpreted to avoid bias. Statistical calculations, using a
same sample collection conditions for each knife type, manipula-     value of 0.03 for h, were conducted as in casework to show the
tion of the smooth-handled paring knives and the rough-handled       impact the presence of the secondary contributor had on the dis-
steak knives occurred on separate days using the previously          criminating potential of the profile. Frequencies published by the
described decontamination and sample collection procedures.          FBI for Caucasian, African American, and southwestern His-
The same individuals were partnered for each phase of the            panic populations were used for the statistical calculations
experiment to limit the number of variables. Each individual ulti-   (17,18).1 Interpretational parameters utilized were established by
mately handled one smooth-handled knife and one rough-han-           internal validation studies conducted at Strand Analytical Labo-
dled knife. For example, Individual #1 was the primary handler       ratories (Indianapolis, IN).
of smooth-handled knife F and rough-handled knife R while
being the secondary contributor of smooth-handled knife E and
                                                                     Results and Discussion
rough-handled knife Q.
   Extraction of the swabs from the smooth-handled and rough-           Samples were evaluated for the following: (i) if the DNA profile
handled knives along with the representative control swabs was       obtained was from a single contributor or multiple contributors;
performed according to the Qiagen (Hilden, Germany) DNA              (ii) if the DNA profile, whether a single source or mixture, was
Purification from Buccal Swabs Spin Protocol. Reagent blanks         consistent with the individuals associated with the sample; (iii) if
were used to monitor reagent contamination. The samples were         foreign alleles not attributed to primary and secondary contribu-
eluted into 150 lL buffer AE (Tris-HCL and EDTA).                    tors were identified, could the source of the extraneous DNA be
   QuantifilerTM Human DNA Quantification Kit (Applied               identified; (iv) if secondary DNA transfer (i.e., alleles attributable
Biosystems) in conjunction with an Applied Biosystems 7500           to the “secondary contributor”) was detected; (v) if secondary
Real-Time PCR instrument was used to determine the concentra-        DNA transfer occurred, could the profile be interpreted and a con-
tion of human DNA present in each sample. The amount of              clusion drawn regarding the source(s) of the profile; (vi) if the pro-
DNA available for analysis was calculated using the quantitation     file was suitable for statistical analysis; and (vii) if the texture of
value obtained from the assay multiplied by the remaining vol-       the knife handle facilitated secondary DNA transfer.
ume of the sample. A statistical comparison of DNA yields               Profiles were categorized as follows: single source defined as
obtained from the smooth-handled knives and rough-handled            being from a single contributor; possible mixture defined as a
knives was performed using SPSS (SPSS Inc. Released 2008.            single source above the analytical threshold with a possible con-
SPSS Statistics for Windows, Version 17.0. Chicago: SPSS             tributor below the analytical threshold; two person mixture
Inc.). After quantification, all samples except for knife sample     defined as a profile exhibiting no more than four alleles at any
W were concentrated into 15 lL of deionized water using Via-         one locus; at least two person mixture defined as a profile
com 500s with Hydrostatâ membranes (Vivaproducts, Inc. Lit-          exhibiting no more than four alleles at any one locus, but not all
tleton, MA) prior to amplification in order to amplify the           alleles consistent with the primary and secondary contributors;
maximum amount of DNA possible.                                      greater than two person mixture defined as a profile exhibiting
   Samples with a detectable amount of DNA were amplified            more than four alleles at any one locus and not all alleles consis-
with the Identifilerâ Plus Amplification Kit (Applied Biosys-        tent with the primary and secondary contributors; an indistin-
tems) in a 25 lL reaction. Except for one knife (knife W),           guishable mixture defined as a mixture that could not be
which contained enough DNA to target 1.5 ng, the maximum             deconvoluted using peak height ratios (PHRs); and a major/mi-
volume of sample (10 lL) was used for amplification. Amplifi-        nor mixture defined as a mixture that could be deconvoluted
cation was performed by PCR on an Applied Biosystems (Forest         using PHRs.
City, CA) 9700 thermal cycler following manufacturer’s specifi-
cations. A positive amplification control using 9947A DNA tem-
plate and a negative amplification control were amplified as well      1
                                                                        Some frequencies were found to be inaccurate. Statistical calculations can
and were used to monitor amplification success and reagent con-      be re-evaluated using frequencies published by Hill et al., Forensic Science
tamination. Amplified product was analyzed in a 10 lL reaction       International: Genetics 7 (2013) e82–e83.
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                                              TABLE 1––Quantifilerâ Human results for knives tested.

                    Elution       DNA Concentration     DNA Available                          Elution     DNA Concentration    DNA Available
Knife             Volume (lL)         (ng/lL)           for Testing (ng)        Knife        Volume (lL)       (ng/lL)          for Testing (ng)
A                     150              0.00678               1.00          M                      150          0.0063                0.93
B                     150              0.00659               0.98          N                      150          0.00189               0.28
C                     150              0.00353               0.52          O                      150          0.00528               0.78
D                     150              0.00115               0.17          P                      150          0                     0.00
E                     150              0.00514               0.76          Q                      150          0                     0.00
F                     150              0.00493               0.73          R                      150          0.0076                1.12
G                     150              0.00275               0.41          S                      150          0                     0.00
H                     150              0                     0.00          T                      150          0.00702               1.04
I                     150              0.00513               0.76          U                      150          0.000503              0.07
J                     150              0.00956               1.41          V                      150          0.00424               0.63
K                     150              0.00891               1.32          W                      150          0.0338                5.00
L                     150              0.0053                0.78          X                      150          0.0121                1.79
Smooth Control        150              0                     0.00          Rough Control          150          0                     0.00
RB 041113             150              0                     0.00          RB 041613              150          0                     0.00


   Values obtained from quantification were reported as deter-             completely effective at removing all foreign DNA. Likewise, as
mined by the assay (Table 1). However, the values may not be               only a single representative of each knife type was collected, it
accurate because a majority of the samples quantified below the            is possible that the measures implemented to remove background
lowest point of the standard curve (0.023 ng/lL). No human                 DNA from the knives prior to handling were not as effective as
DNA was detected in the contamination control samples or in                previously thought. Foreign alleles identified were not consistent
the reagent blanks supporting the conclusion that the quality              between samples suggesting that the extraneous DNA was not
control measures implemented to decontaminate the knives were              the result of reagent contamination or cross-contamination, and
effective and no extraneous DNA was introduced into the sam-               the foreign alleles were not consistent with the profiles of indi-
ples during extraction. Likewise, four knife samples did not               viduals involved in the experiment, the individuals doing the
yield human DNA and were not amplified. Given the results                  testing, or other laboratory personnel. Some of the aberrant
reported in previous studies (2,4,14–16), it is clear that the quan-       results could be due to allelic drop-in or elevated stutter prod-
tity and quality of DNA recovered from touched objects varies.             ucts. The presence of the extraneous DNA would render the pro-
This variation could be due to a number of factors including an            files obtained from knife samples E, F, and J as well as the
individual’s propensity to shed DNA (14). The experiment was               minor components of knife samples C and N inconclusive for
designed to control sampling variables to the greatest extent pos-         comparison purposes because the number of individuals con-
sible, but not detecting DNA in some samples is not surprising.            tributing to the samples could not be determined and most loci
A paired-samples t-test was conducted using SPSS (SPSS Inc.                exhibited peaks with heights below the stochastic threshold.
Released 2008. SPSS Statistics for Windows, Version 17.0. Chi-                Two person mixtures with major and minor components were
cago: SPSS Inc.) to compare the concentration of DNA (ng/lL)               obtained from rough-handled knife samples M, O, R, T, and W,
determined for the smooth-handled knives and the rough-handled             where the major component was consistent with the DNA profile
knives. There was no significant difference in concentrations of           of the primary handler while the minor component was consis-
DNA (ng/lL) from smooth-handled knives (M = 0.005,                         tent with the DNA profile of the secondary contributor. How-
SD = 0.003) and rough-handled knives (M = 0.007, SD =                      ever, the secondary contributor was not detected in sufficient
0.009) conditions; t(11) = 0.641, p = 0.535.                               enough quantities to produce a CODIS-suitable profile. The
   A variety of DNA profiles was obtained during this research             minor components obtained from knife samples M, R, T, and W
project (Table 2). DNA typing results indicated that secondary             would most likely be reported as inconclusive for comparison
DNA transfer occurred in 17 of the 20 knife samples (85%)                  purposes because there were no loci suitable for statistical calcu-
amplified as verified by the presence of alleles consistent with           lations; the peak heights of the minor alleles were below the
the secondary contributors’ DNA profiles. Secondary DNA                    stochastic threshold.
transfer was not detected in smooth-handled knife samples A                   Indistinguishable mixtures of both the primary and secondary
and K or in rough-handled knife sample V.                                  contributors were obtained from three knife samples. Interpreta-
   In smooth-handled knife samples C, E, F, and J; and rough-              tion of the DNA profiles obtained from smooth-handled knife
handled knife sample N, alleles from both the primary and sec-             samples D and G; and rough-handled knife sample U was made
ondary contributors were detected; however, the presence of                more complicated by the presence of DNA from the secondary
extraneous DNA complicated the interpretation of the DNA pro-              contributor. Deconvolution of the mixtures obtained from these
files. In all five samples, foreign alleles not consistent with either     knife samples into major and minor components was not possi-
the primary or secondary contributor were identified. For exam-            ble. Interpreting a single-source profile is straightforward, but
ple, a greater than two person mixture with major and minor                interpreting a two or greater than two person mixture can be
components was obtained from knife C. The major component                  more complicated. In addition, as the number of individuals con-
was an unknown DNA profile while the minor component was                   tributing to a DNA profile increases, the discriminatory power of
consistent with the DNA profiles of the primary and secondary              the DNA profile obtained from that sample may decrease. For
contributors. The unknown DNA profile was compared to the                  example, the DNA profile obtained from knife sample U (Fig. 1)
DNA profiles of all participants and laboratory personnel. The             was interpreted as a two person mixture. Only two loci
source of the major component could not be identified. As swab-            (D8S1179 and D3S1358) were deemed suitable for statistical
bings of individual participants’ hands were not collected prior           calculations because the number of alleles identified (four alle-
to handshaking, it is possible that rinsing hands lightly was not          les) at these loci met the assumption of a two person mixture.
                                TABLE 2––Interpretation of the AmpFlSTRâ Identifilerâ Plus profiles developed from DNA extracted from the smooth- and rough-handled knives.

                                                                                                                                                                     Number of Alleles   Number of
                                                                                                                                            Number of Alleles            Observed/       Extraneous
                                                                                                               Number of Loci          Observed/Expected—Primary    Expected—Secondary     Alleles
Knife                Profile Category                                     Source(s)                            Suitable for Stats              Contributor              Contributor       Observed
Smooth-Handled Knives
  A      Single source                               Matches primary contributor                              12                                   25/28                        0/28          0
  B      Possible mixture with major                 Major component matches secondary contributor;           15 major/0 possible                   0/28                       28/28          0
          component and possible minor                possible minor component below analytical                minor
          component                                   threshold
  C      >2 person mixture with major and            Major component unknown DNA profile; minor               13 major/0 minor                    25*/25                      25*/26        17
          minor components                            component consistent with primary and secondary
                                                      contributors; extraneous DNA detected
  D         2 person indistinguishable mixture       Consistent with primary and secondary contributors       None                                24*/25                      26*/26          0
  E         >2 person indistinguishable mixture      Consistent with primary and secondary contributors;      None                                23*/27                      30*/30          2
                                                      extraneous DNA detected.
  F         At least 2 person indistinguishable      Consistent with primary and secondary                    None                                28*/30                      20*/27          3
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             mixture                                  contributors; extraneous DNA detected
  G         2 person indistinguishable mixture       Consistent with primary and secondary contributors       1                                   19*/25                      25*/27          0
  I         2 person mixture with major and          Major component matches secondary contributor;           15 major/1 minor                     5†/31                       30/30          0
             minor components                         minor component consistent with primary
                                                      contributor
  J      At least 2 person mixture with              Major component matches primary contributor;             15 major/0 minor                     30/30                       2†/31          1
          major and minor components                  extraneous DNA detected
  K      Single source                               Matches primary contributor                              15                                   26/26                        0/26          0
  L      Possible mixture with major                 Major component matches secondary contributor;           6 major/0 possible                    0/26                       17/26          0
          component and possible minor                possible minor component below analytical                minor
          component                                   threshold
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Rough-Handled Knives
  M      2 person mixture with major and             Major component matches primary contributor;             15 major/0 minor                     28/28                       1†/28          0
          minor components                            minor component consistent with secondary
                                                      contributor
  N         At least 2 person mixture with           Major component matches secondary contributor;           15 major/0 minor                      5†/28                      28/28          2
             major and minor components               extraneous DNA detected
                                                                                                                                                                                †
  O         2 person mixture with major and          Major component matches primary contributor;             15 major/2 minor                     25/25                       7 /26          0
             minor components                         minor component consistent with secondary
                                                      contributor
  R         2 person mixture with major and          Major component matches primary contributor;             15 major/0 minor                     30/30                      10†/27          0
                                                                                                                                                                                                                                     filed 01/22/18




             minor components                         minor component consistent with secondary
                                                      contributor
                                                                                                                                                                                                      CALE ET AL.




  T         2 person mixture with major and          Major component matches primary contributor;             14 major/0 minor                     27/27                       2†/25          0
                                                                                                                                                                                                      .




             minor components                         minor component consistent with secondary
                                                      contributor
  U         2 person indistinguishable mixture       Consistent with primary and secondary contributors       2                                   17*/31                      28*/30          0
  V         Possible mixture with major              Major component matches primary contributor;             15 major/0                           30/30                        0/31          0
             component and possible minor             possible minor component below analytical                possible minor
             component                                threshold
  W         2 person mixture with major and          Major component matches primary contributor;             15 major/0 minor                     26/26                       3†/26          0
             minor components                         minor component consistent with secondary
                                                      contributor
                                                                                                                                                                                                                                     USDC Colorado




  X         2 person mixture with major and          Major component matches secondary contributor;           15 major/1 minor                      8†/26                      26/26          0
             minor components                         minor component consistent with primary
                                                      contributor
                                                                                                                                                                                                                                     pg


                                                                                                                                                                                                      SECONDARY DNA TRANSFER




      *Number of observed alleles includes shared alleles between primary and secondary contributors when an indistinguishable mixture was identified.
      †
        All minor alleles exhibited peak heights below stochastic threshold.
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  FIG. 1––AmpFlSTRâ Identifilerâ Plus profiles from Knife U, a rough-handle knife (a), and primary (b) and secondary (c) contributors (control profiles).
Only FAM & VIC-labeled loci shown for the protection of individual participants’ privacy. A total of 0.07 ng was targeted in the 25 lL amplification of knife
U and the sample was injected for 10 sec at 3 kv on a 3130xl. Data were analyzed using a 50 RFU analytical threshold and interpreted using a 200 RFU
stochastic threshold.
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                                                                                                  CALE ET AL.    .   SECONDARY DNA TRANSFER              7

                                                                                  individual. The probability of an unrelated individual selected at
                                                                                  random from the population being the source of the DNA profile
                                                                                  is approximately 1 in 983 quintillion. (Recalculated using fre-
                                                                                  quencies published by Hill et al., Forensic Science International:
                                                                                  Genetics 7 (2013) e82–e83, number would be 1 in 4 sextillion.)
                                                                                     Observing a single-source profile or a major component
                                                                                  deduced to a single source together with a discriminating statisti-
                                                                                  cal calculation could lead investigators to believe that the source
                                                                                  of the DNA profile was the individual who directly handled the
                                                                                  object and was the perpetrator of the crime. If these results were
                                                                                  presented during a trial as forensic evidence, they would be diffi-
                                                                                  cult to dispute. Data obtained from five knife samples (B, I, L, N,
                                                                                  and X) suggest that individuals can have their DNA deposited on
                                                                                  an item in sufficient quantities to be the only contributor or major
                                                                                  contributor identified without ever coming into direct contact with
                                                                                  the object. Likewise, it is possible that secondary DNA transfer
                                                                                  could result in a discriminating minor profile; however, a discrim-
                                                                                  inating minor profile resulting from secondary DNA transfer was
                                                                                  not observed in this sample set. The results obtained from this
                                                                                  study illustrate the risk the expert testifying on the DNA results
                                                                                  runs by referring to the samples as “touch” DNA or “wearer”
                                                                                  DNA. Such terminology implies the source of the DNA profile
                                                                                  has to come into direct contact with an object to leave his/her
                                                                                  DNA on the object. The demonstrated possibility of secondary
                                                                                  DNA transfer could have major ramifications in a forensic investi-
                                                                                  gation; secondary DNA transfer should not be regarded as an
                                                                                  event that may only occur under optimal experimental conditions.
                                                                                     In summary, DNA typing results were obtained from 20 of 24
                                                                                  knife samples. The texture of the knife handle did not appear to
                                                                                  have a significant effect on the results. Two profiles were clearly
                                                                                  from a single source while eighteen were profiles from more
                                                                                  than one source. In most instances, the DNA profiles obtained
                                                                                  were attributable to the individuals associated with the samples.
                                                                                  Alleles foreign to the two known contributors were observed in
                                                                                  five samples; the source of these foreign alleles could not be
                                                                                  identified. Secondary DNA transfer (i.e., alleles attributable to
                                                                                  the individual that did not touch the knife) was detected in 16
  FIG. 2––AmpFlSTRâ Identifilerâ Plus profiles from Knife B, a smooth-            instances. In three of the profiles that exhibited secondary DNA
handle knife (a), and primary (b) and secondary (c) contributors (control
profiles). Only VIC-labeled loci shown for the protection of individual partic-
                                                                                  transfer, the DNA profile of the secondary contributor was suffi-
ipants’ privacy. A total of 0.65 ng was targeted in the 25 lL amplification       cient to affect the interpretation of the results. In five samples,
of knife B and the sample was injected for 10 sec at 3 kv on a 3130xl. Data       the DNA profile resulting from secondary transfer was suitable
were analyzed using a 50 RFU analytical threshold and interpreted using a         for statistical analysis; these profiles had the potential to falsely
200 RFU stochastic threshold.                                                     link an individual to an item of evidence.

All other loci exhibited less than four alleles with peak heights                 Acknowledgments
below the stochastic threshold, and it is possible that information
was missing at the other loci. At some loci, there was clear alle-                   The authors would like to thank Julia Harris for her participa-
lic dropout where peaks were visible below the analytical thresh-                 tion in the experimental phase of this research project. In addition,
old. Following the same interpretational guidelines, only one                     we would like to thank the students of the University of Indi-
locus was suitable for statistical calculations in knife sample G;                anapolis Forensic and Historic DNA class for their voluntary par-
no loci were suitable for statistical calculations in knife D. In                 ticipation in this project and the Human Biology Department at
these instances, the presence of DNA from the secondary con-                      the University of Indianapolis for funding portions of this project.
tributor lowered the discriminatory power of the profiles and
possibly rendered them inconclusive for comparison purposes.
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